Case 09-29123-mkn   Doc 1397-7   Entered 01/07/22 15:11:14   Page 1 of 2




                           Ex. 7
Cox Business Email RE_ Melani Schulte (Case No_ 09-29123-MK...      https://webmail.coxbusiness.com/appsuite/v=7.10.3-30.2021081...
                     Case 09-29123-mkn         Doc 1397-7       Entered 01/07/22 15:11:14          Page 2 of 2


           Greg P. Campbell <gcampbell@aldridgepite.com>                                              12/22/2021 10:48 AM

           RE: Melani Schulte (Case No. 09-29123-MKN)
           To Christopher Burke <atty@cburke.lvcoxmail.com> Copy Eddie R. Jimenez <ejimenez@aldridgepite.com>


           Chris –

           Thank you again for a ending the deposi on yesterday with Ms. Schulte.

           We would like to depose the Debtor’s disclosed witness, David Pierce. We no ced the provided address for Mr.
           Pierce is similar to the Debtor’s address (9811 W. Charleston Blvd. #2‐279, Las Vegas, NV 89117
           (775) 225‐0021). Is Mr. Pierce represented by an a orney? If not, would you like our firm to contact Mr. Pierce
           directly to coordinate the deposi on or, in the alterna ve, coordinate the date/ me via your oﬃce?

           We intend to conduct the deposi on via Zoom in early January.

           Finally, please note we are s ll pending a response from Shellpoint regarding produc on of the Bankruptcy
           Procedures Manual. Our contact on the ma er is out of the oﬃce for the holidays, but should respond upon
           her return.

           In the mean me, please provide clarifica on regarding the deposi on for Mr. Pierce.

           Thank you,




           Greg P. Campbell*
           Partner
           Aldridge | Pite, LLP
           4375 Jutland Drive, Suite 200
           San Diego, CA 92117
           Direct: 858.750.7620 (Internal: 1620)
           E: gcampbell@aldridgepite.com
           Alabama | Alaska | Arizona | California | Florida | Georgia | Hawaii | Idaho | Nevada | New Mexico | New
           York | Oregon | Tennessee | Texas | Utah | Washington

           *Licensed in California

           www.aldridgepite.com

           From: Christopher Burke
           Sent: Wednesday, December 15, 2021 4:40 PM
           To: Greg P. Campbell <GCampbell@aldridgepite.com>
           Subject: RE: Melani Schulte (Case No. 09‐29123‐MKN)

           Good afternoon Mr. Campbell,




1 of 3                                                                                                              1/7/2022, 9:22 AM
